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                                                                                                      E-FILED
                                                                             Friday, 01 July, 2022 01:24:24 PM
                                                                                 Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

 JOSEPH SHERMAN, individually and on                 )   Case No. 1:20-cv-01185-MMM-JEH
 behalf of himself all others similarly situated,    )
                                                     )   Hon. Michael M. Mihm
          Plaintiff,                                 )
                                                     )   Judge Presiding
          v.                                         )
                                                     )   Hon Jonathan E. Hawley
 BRANDT INDUSTRIES USA LTD.,                         )   Magistrate Judge
                                                     )
          Defendant.                                 )

                             PLAINTIFF’S MOTION
               FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

         For the reasons set forth in his accompanying memorandum of law, Plaintiff Joseph

Sherman (“Plaintiff”), by his undersigned attorneys, respectfully moves this Court to enter his

proposed order, which Defendant Brandt Industries USA, Ltd (“Brandt”) does not oppose, and

grant final approval of the class action settlement reached with Brandt.


Dated: July 1, 2022                           Respectfully submitted,

                                              JOSEPH SHERMAN, individually and on behalf of
                                              all others similarly situated,

                                              By: /s/ Gregg M. Barbakoff
                                                  Keith J. Keogh (ARDC 6257811)
                                                  Gregg M. Barbakoff (ARDC 6305413)
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                                      Attorney for Plaintiff and the Proposed Settlement Class




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                                CERTIFICATE OF SERVICE

        I, Gregg M. Barbakoff, an attorney, hereby certify that on July 1, 2022, service of a true
and correct copy of this document and any referenced exhibits was accomplished pursuant to ECF
on all parties who are Filing Users.


                                                    /s/ Gregg M. Barbakoff




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